  Case 2:23-cr-00599-MCS Document 7 Filed 12/28/23 Page 1 of 2 Page ID #:67

Summons




                    United States District Court
                                       For The
                                                                                        12/28/2023
                             Central District of California                                CDO




UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )         Case No. CR 23-00599-MCS
                                                )         *AMENDED
               v.                               )         SUMMONS TO APPEAR
                                                )
ROBERT HUNTER BIDEN,                            )
                                                )
                  Defendant.                    )
_____________________________________


TO:    Robert Hunter Biden
       c/o Abbe Lowell, Esquire



       You are hereby summoned to appear before the United States District Court for the

Central District of California in the *First Street Courthouse, 350 West 1 st Street,

Los Angeles, in Courtroom 7C, 7 th floor before the Honorable       *Judge Mark C. Scarsi        on

  January 11, 2024      at   1:00 p.m.     to answer to an   Indictment      charging you with

violating SEE ATTACHED.

Dated: December 27, 2023              CLERK OF COURT, U.S. DISTRICT COURT

cc: Abbe Lowell, Esq.

                                         KIRY K. GRAY


                                           RETURN

This summons was received by me at                                           on


                                                     ROBERT
                                                     ROB
                                                       BERT HUNTER BIDEN
                                                                   BIDEN, Def
                                                                          Defendant
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               Headquarters                      Riverside Branch                   Santa Ana Branch

      Edward R. Roybal Federal Building       George E. Brown, Jr. Federal     Ronald Reagan Federal Building
             and U.S. Courthouse                        Building                    and U.S. Courthouse
      255 East Temple Street, Suite 1410         and U.S. Courthouse          411 West Fourth Street, Suite 4070
        Los Angeles, CA 90012-3332           3470 Twelfth Street, Suite 161      Santa Ana, CA 92701-4596
      213-894-4726 / FAX 213-894-0231          Riverside, CA 92501-3801       714-338-4550 / FAX 714-338-4570
                                           951-328-4490 / FAX 951-328-4489
